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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

AC2T, Inc., d/b/a
Spartan Mosquito,
                                                     Case No. 2:19-cv-5946-RBS
                Plaintiff
        v.

Colin Purrington,

                Defendant
                                     MOTION FOR SANCTIONS

        Defendant Colin Purrington petitions this Court to issue sanctions against Plaintiff AC2T, Inc.,

and its attorneys, Alan L. Frank Law Associates, PC pursuant to F.R.C.P. 26 & 37, 28 U.S.C. Section

1927, Local Eastern District Rule 83.6 (IV), Pa. Rule of Professional Conduct 3.5, and pursuant to the

court’s inherent power to issue sanctions and control its affairs, pleading as follows:

                                          RELEVANT FACTS

   1.           On August 24, 2021, Evan L. Frank, Esquire, the lawyer for the Plaintiff, sent an ex-

        parte letter to this Court, namely to Hon. R. Barclay Surrick.

   2.           Within that August 24, 2021 correspondence, the lawyer for the Plaintiff supplied

        misleading information about the state of discovery and requested the Court to “order the

        Defendant to comply.” [A true and correct copy of the 8/24/21 correspondence is attached

        hereto at Exhibit “A”]

   3.           Further, he stated, “A proposed order is attached” and submitted a substantive order to

        the Court. [A true and correct copy of the so-called proposed order is attached hereto at Exhibit

        “B”]




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4.          The August 24, 2021 correspondence constituted an unethical ex-parte communication

     to this court, seeking impermissible substantive relief for an alleged discovery dispute. See,

     e.g., Pa. Rule of Professional Conduct 3.5; F.R.C.P. 26 & 37; EDPA Local Rule 83.6 (IV).

5.          On August 25, 2021 counsel for the Defendant supplied to Evan L. Frank, Esquire

     correspondence which objected to the 8/24/21 letter, and stated unequivocally that Mr. Frank

     was in direct violation of the Rules of Civil Procedure, as well as the relevant Rules of

     Professional Conduct, and instructed him to cease and desist from engaging in such unethical,

     inappropriate, and impermissible actions in this litigation. [A true and correct copy of the

     8/25/21 correspondence is attached hereto at Exhibit “C”]

6.          Despite the notice and warning supplied by counsel for the Defendant, Evan L. Frank,

     Esquire, disregarded the 8/25/21 letter, and on October 4, 2021, Evan L. Frank, Esquire, sent a

     subsequent ex-parte correspondence to the Court, again supplying misleading information, and

     stated, “we therefore request the court rule on our discovery letter.” [Emphasis supplied] [A

     true and correct copy of the 10/4/21 correspondence is attached hereto at Exhibit “D”]

7.          Not only did the Plaintiff and his attorney supply the original unethical correspondence

     to this Court, which requested an inappropriate act from Court and supplied a substantive order

     (attempting to deprive the Defendant any opportunity to respond), he then doubled-down on his

     substantive request via his demand within the 10/4/21 correspondence. [See Exhibits “A,” “B,”

     and “D”]

8.          These substantive requests, submitted in an unethical and inappropriate manner, are

     highly prejudicial to the Defendant.

9.          Moreover, the Plaintiff has unclean hands, in that it has refused to provide discovery to

     the Defendant for the better part of two (2) years, and which ultimately necessitated a Motion to



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      Compel and a subsequent Order from this Court to comply (which, to date, it has failed to do

      so).

10.           Pennsylvania Rule of Professional Conduct 3.5 states that a lawyer shall not: “seek to

      influence a judge… by means prohibited by law; communicate ex parte with such a person

      during the proceedings unless authorized to do so by law or court order; or, engage in conduct

      intended to disrupt a tribunal.” See Pa. R.P.C. 3.5.

11.           Further, Federal Courts are empowered to "'protect the administration of justice by

      levying sanctions in response to abusive litigation practices.'" Kovilic Const. Co., v.

      Missbrenner, 106 F.3d 768, 772-73 (7th Cir. 1997); Brockton Sav. Bank v. Peat, Marwick,

      Mitchell & Co., 771 F.2d 5, 11 (1st Cir. 1985), cert. denied, 475 U.S. 1018 (1986), quoting

      Penthouse Int'l, Ltd. v. Playboy Enters., 663 F.2d 371, 386 (2d Cir. 1981).

12.           A court's inherent power is "governed not by rule or statute but by the control

      necessarily vested in courts to manage their own affairs so as to achieve the orderly and

      expeditious disposition of cases." Link v. Wabash R.R., 370 U.S. 626, 630-631 (1962).

13.           The imposition of inherent power sanctions is appropriate where the offender has

      willfully abused judicial process or otherwise conducted litigation in bad faith. See, e.g., In re

      Itel Sec. Litig., 791 F.2d 672, 675 (9th Cir. 1986); 370 U.S. at 675.

14.           Additionally, 28 U.S.C. Section 1927 authorizes this Court to impose monetary

      sanctions upon the law firm and the party for attorney’s fees, expenses, and the like, for conduct

      that is inappropriate and/or unethical. See 28 U.S.C. Section 1927; State Indus. V. Mor-Flo

      Indus., 948 F.2d 1573 (Fed. Cir. 1991) (Section 1927 applies to all cases "in any court of the

      United States, including the courts of appeals.”)




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   15.          Fed. R.C.P. 26 and 37 authorize this Court to impose sanctions upon a party and its

         lawyer(s) for improper discovery and for violations of the Rules of Civil Procedure or for the

         Local Rules or norms of this Court. See, e.g., Fed. R.C.P. 26 & 37.

   16.          Finally, Local Eastern District Rule 83.6 (IV) of Disciplinary Enforcement dictates that

         certain standards of professional conduct be adhered; the failure to adhere to the Rules of

         Professional Conduct, with good cause shown, subjects an attorney to reprimand, suspension

         from practice in front of this Court, or be subjected to such other disciplinary action as the

         circumstances warrant. Rule 83.6(IV)(B) states specifically, “acts or omissions by an attorney

         admitted to practice before this court..which violate the Rules of Professional Conduct adopted

         by this Court shall constitute misconduct and shall be grounds for discipline…”. [emphasis

         supplied] See EDPA Local Rule 83.6 (IV).

   17.          The Lawyers for the Plaintiff have repeatedly, willfully, and directly violated a Rule of

         Professional Conduct, and must be subject to discipline. Rule 83.6(IV)(B).

                                                 CONCLUSION

         The violations of the applicable Rules of Civil Procedure, the Rules of Professional Conduct,

and the like, along with the substantial prejudice to the Defendant, necessitate that this Court issue

monetary sanctions and/or disciplinary proceedings against the Plaintiff and its lawyers, Alan L. Frank

Law Associates, PC, in order to prevent further unethical activities and prevent further prejudice to the

Defendant.

WHEREFORE, Defendant respectfully requests that this Court grant its Motion for Sanctions and

issue monetary sanctions for attorney’s fees and expenses against the Plaintiff and its lawyers, Alan L.

Frank Law Associates, PC, in the amount of $5,000.00 for the repeated, willful violations of the Rules

of Civil Procedure, the Rules of Professional Conduct; and further, issue such other sanctions and/or

discipline as appropriate.

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                                  Respectfully submitted,




                                  _____________________
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                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

AC2T, Inc., d/b/a
Spartan Mosquito,
                                                       Case No. 2:19-cv-5946-RBS
               Plaintiff
       v.

Colin Purrington,

               Defendant
                                     CERTIFICATE OF SERVICE

   I, Trevor C. Serine, Esquire, attorney for Defendant Colin Purrington, hereby certify that I served a true

and correct copy of the Motion upon the following parties in the manner indicated on 10/5/2021. I further

certify that I have attempted to resolve this issue with opposing counsel, without success.


VIA ELECTRONIC FILING NOTICE
AC2T, Inc., d/b/a
Spartan Mosquito
c/o Evan L. Frank, Esquire
Alan L. Frank Law Associates, P.C
135 Old York Road
Jenkintown, PA 19046
efrank@alflaw.net


                                               By:     _________________________
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